                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (DANVILLE DIVISION)


  UNITED STATES OF AMERICA                      )
                                                )
  v.                                            )       Case Number: 4:18CR00011-04
                                                )
  DASHAUN LAMAR TRENT                           )


    DEFENDANT’S OBJECTIONS TO SPECIFIC UNITED STATES’ TRIAL EXHIBITS

         COMES NOW your defendant, Dashaun Lamar Trent, by counsel, and respectfully moves

  this Honorable Court for entry of an Order sustaining the defendant’s objection(s) to the following

  proposed government trial exhibits: 444, 447, 539, 545, 548, 551, 554, 785, 790, 795, 798, 805, 808,

  811, 816, 819, 822, 825, 989, 992, 995, 998, 1001, 1004, 1007, 1063, 1119, 1122, 445, 448, 540,

  546, 549, 552, 555, 786, 791, 796, 799, 806, 809, 812, 817, 820, 823, 826, 990, 993, 996, 999, 1002,

  1005, 1008, 1064, 1120 and 1123 and states the following in support thereof:

         (1)     Government’s Exhibit numbers: 444, 447, 539, 545, 548, 551, 554, 785, 790, 795,

  798, 805, 808, 811, 816, 819, 822, 825, 989, 992, 995, 998, 1001, 1004, 1007, 1063, 1119 and 1122

  are videos which purport to have come from Facebook posts by various defendants, including

  Dashuan Trent. The captured videos have been altered by the United States and, when played,

  display a chyron of text which has been superimposed over the video. Since the posted videos, when

  originally posted by the author, contained no such chryon, the video exhibits must be excluded under

  Rule 901(a) of the Federal Rules of Evidence.

         (2)     Rule 901(a) states that: to satifsy the requirement of authentication or identifying an

  item of evidence, the proponent must produce evidence sufficient to support a finding that the item

  is what the proponent claims it is. Here, the alteration of the videos by the superimposition of the



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  chyron changes the very nature of the original video. It creates a video plus a written, digitally

  imposed text not existent when the video was originally produced. Thus, the video exhibits are, on

  their face, not what the government claims them to be.

         (3)     Government’s Exhibit 445, 448, 540, 546, 549, 552, 555, 786, 791, 796, 799, 806,

  809, 812, 817, 820, 823, 826, 990, 993, 996, 999, 1002, 1005, 1008, 1064, 1120 and 1123 are

  transcripts of the audio portion of each of aforementioned video exhibits. The videos are self-

  explanatory and are complete in and unto themselves. The United States’ proposal to introduce

  “transcripts” of the audio portion of these videos is in violation of Rule 401 of the Federal Rules of

  Evidence. The transcripts are not really evidence at all. Instead, they are creations by the United

  States designed to augment other evidence - the videos. As such, the introduction of these transcript

  cannot satisfy Rule 401(a)’s requirement that it has any tendency to make a fact more or less

  probable than it would be without the evidence. Since the United States created “the fact” it cannot

  be relevant evidence.

         WHEREFORE, your defendant respectfully moves this Honorable Court for entry of an

  Order sustaining the defendant’s objection(s) to the following proposed government trial exhibits:

  444, 447, 539, 545, 548, 551, 554, 785, 790, 795, 798, 805, 808, 811, 816, 819, 822, 825, 989, 992,

  995, 998, 1001, 1004, 1007, 1063, 1119, 1122, 445, 448, 540, 546, 549, 552, 555, 786, 791, 796,

  799, 806, 809, 812, 817, 820, 823, 826, 990, 993, 996, 999, 1002, 1005, 1008, 1064, 1120 and 1123.



                                                        Respectfully submitted,

                                                        DASHAUN LAMAR TRENT

                                                        By /s/    Chris K. Kowlaczuk




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                                     CERTIFICATE OF SERVICE

         I, Christopher K. Kowalczuk, Esquire, hereby certify that on this 3rd day of July, 2019, I

  electronically filed the foregoing with the Clerk of the Court using the CM/ECF system which will

  send notification of such filing to all counsel of record.

                                                         /s/   Chris K. Kowalczuk




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